             Case 2:07-cr-00282-FCD Document 94 Filed 08/27/09 Page 1 of 3


1    Robert M. Holley
     Attorney at Law
2    State Bar No. 50769
     331 J Street, Suite 200
3    Sacramento, California 95814
     Telephone: (916) 443-2213
4
     Counsel for Maria Stoner
5
6
7
8
                          IN THE UNITED STATES DISTRICT COURT
9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       )       CR. S-07-0282 FCD
12                                   )
                    Plaintiff,       )       STIPULATION AND ORDER VACATING
13                                   )       HEARING DATE AND SETTING BRIEFING
          v.                         )       AND HEARING SCHEDULE
14                                   )
     MARIA E. STONER,                )
15                                   )
                    Defendant.       )
16   _______________________________ )
17
18                       BACKGROUND AND DECLARATION OF COUNSEL
19              Ms. Stoner was convicted before the Honorable Gregory G.
20   Hollows on various serious misdemeanor counts of assault on a peace
21   officer and open container in a motor vehicle.         Her sentencing date was
22   July 13, 2009 with the judgement and commitment order filed July 24,
23   2009.   She timely filed her Notice of Appeal.        Request was recently
24   made for CJA appointment of counsel.        A control hearing date was
25   scheduled originally for August 31, 2009.         This is the first request
26   for continuance and setting of briefing schedule.          Ms. Stoner remains
27   out of custody. She was placed on probation with various conditions
28   including 30 days electronic home monitoring and a fine and her
           Case 2:07-cr-00282-FCD Document 94 Filed 08/27/09 Page 2 of 3


1    sentence is stayed during the pendency of her appeal.         Counsel has
2    contacted the court reporter and she needs approximately six weeks to
3    prepare the transcript as she is presently working on a lengthy State
4    appellate transcript.      A transcript will be requested for this short
5    two day trial on confirmation of appointment of counsel and indigent
6    status.   Accordingly it is hereby stipulated and requested that the
7    following briefing and hearing schedule be ordered.
8
9                                     STIPULATION
10
11             IT IS HEREBY STIPULATED by and between the parties hereto
12   that the briefing and hearing schedule be set as follows:
13
14             Transcript due:                    October 6, 2009
15             Appellant’s Opening Brief:         November 3, 2009
16             Respondent’s Brief:                December 8, 2009
17             Appellant’s Closing Brief:         December 29, 2009
18             Hearing date and time:             January 11, 2010 at 10:00 a.m.
19
20
21
22              Dated:   August 25, 2009
23                                                /s/ Robert M. Holley
                                                  __________________________
24                                                Robert M. Holley
                                                  Counsel for the Appellant
25
26                                                /s/ Daniel McConkie (by rmh)
                                                  ___________________________
27                                                Mr. Daniel McConkie
                                                  Assistant U.S. Attorney
28                                                Counsel for the Respondent


                                            2
           Case 2:07-cr-00282-FCD Document 94 Filed 08/27/09 Page 3 of 3


1
                                          ORDER
2
     It is So Ordered.
3
     Dated: August 27, 2009
4
5
                                            _______________________________________
6                                           FRANK C. DAMRELL, JR.
                                            UNITED STATES DISTRICT JUDGE
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                            3
